                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 DANIEL BRADLEY DAVIS,                            )
                                                  )
        Plaintiff,                                )
                                                  )       No. 1:20-CV-98
 v.                                               )
                                                  )       Judge Collier
 ANDREW LAWRENCE BERKE, in his                    )       Magistrate Judge Lee
 official capacity as Mayor of Chattanooga,       )
 and the CITY OF CHATTANOOGA,                     )
                                                  )
        Defendants.                               )


                                  MEMORANDUM & ORDER

        Before the Court is a motion by Plaintiff, Daniel Bradley Davis, for entry of a temporary

 restraining order and an emergency hearing. (Doc. 5.)



 I.     BACKGROUND

        On April 15, 2020, Plaintiff filed a complaint seeking a temporary restraining order against

 Defendants, Andrew Lawrence Berke, in his official capacity as Mayor of Chattanooga (the

 “Mayor”), and the City of Chattanooga, to prevent them from enforcing the Mayor’s ban on

 gatherings of ten or more people as it applies to worship services. (Doc. 1.) On the same day,

 Plaintiff filed a motion for temporary restraining order and an emergency hearing, along with a

 memorandum in support of the motion. (Docs. 5, 6.) Plaintiff alleges that Executive Order 2020-

 06, which the Mayor issued on April 2, 2020, contained a ban on public gatherings of ten or more

 people, which prohibited Plaintiff from attending worship services at Plaintiff’s church. Plaintiff

 also alleges this ban prevented Plaintiff from visiting a drive-in church service Celebration Church

 Chattanooga (“Celebration Church”) advertised for Easter Sunday, April 12, 2020. Plaintiff cites




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 two Tweets from a five-part message tweeted by the Mayor on April 10, 2020, which collectively

 stated as follows:

         Our recent executive orders related to the coronavirus strictly prohibit large
         gatherings of any kind, and this, unfortunately, includes worship services. This
         Easter Sunday, and every Sunday until the pandemic is behind us, please stay home.
         We respectfully ask that churches in our area not move forward with “drive-in”
         worship services or any kind of public assembly. Allowing people to gather, even
         in their cars with the windows rolled up, will be considered a violation of our
         directives.

 (Doc. 6 at 5 (quoting Andy Berk (@AndyBerke), Twitter (April 10, 2020)) (internal numbering

 omitted).)

         Plaintiff’s case was assigned to the undersigned on April 16, 2020. (Doc. 12.)



 II.     STANDARD OF REVIEW

         Under Federal Rule of Civil Procedure 65(b), the Court may issue a temporary restraining

 order without written or oral notice to the adverse party. Fed. R. Civ. P. 65(b)(1). This may occur,

 however, only if “specific facts in an affidavit or a verified complaint clearly show that immediate

 and irreparable injury, loss, or damage will result to the movant before the adverse party can be

 heard in opposition,” and “the movant’s attorney certifies in writing any efforts made to give notice

 and the reasons why it should not be required.” Id.

         In determining whether to grant a temporary restraining order, the Court must also consider

 (1) the likelihood that the movant will succeed on the merits; (2) whether the movant will suffer

 irreparable harm if injunctive relief is not granted; (3) the probability that granting relief will cause

 substantial harm to others; and (4) whether the injunction advances the public interest. Ne. Ohio

 Coal. for Homeless & Serv. Employees Int’l Union, Local 1199 v. Blackwell, 467 F.3d 999, 1009

 (6th Cir. 2006). “These factors are not prerequisites that must be met, but are interrelated



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 considerations that must be balanced together.” Id. (quoting Mich. Coal. of Radioactive Material

 Users, Inc. v. Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991)).



 III.   DISCUSSION

        Plaintiff has not satisfied the procedural requirements for the issuance of a temporary

 restraining order without notice to Defendants. Plaintiff has not filed a verified complaint or an

 affidavit. See Fed. R. Civ. P. 65(b)(1)(A). Without a verified complaint or an affidavit, there is

 no evidence for the Court to consider, only allegations. Nor has Plaintiff, as the pro se movant,

 certified in writing any efforts he has made to give notice to Defendants and the reasons why notice

 to Defendants should not be required. Id. 65(b)(1)(B). For both of these reasons, the issuance of

 a temporary restraining order without notice to Defendants is not proper at this time.

        In addition to these procedural deficiencies, the Court cannot conclude, based on the

 allegations Plaintiff has made, that a temporary restraining order would be substantively warranted

 at this time. The first factor the Court would consider is the likelihood of Plaintiff’s success on

 the merits. See Ne. Ohio Coal., 467 F.3d at 1009. Plaintiff has not alleged sufficient facts from

 which the Court could conclude that Plaintiff is likely to succeed on the merits. Plaintiff argues

 there are less restrictive means by which Defendants may achieve their compelling public-health

 purposes, in that churches can “gather and worship while abiding by the legitimate health and

 safety interests—namely, abiding by the Centers for Disease Control and Prevention (CDC) and

 Tennessee Department of Health guidelines for gatherings,” (Doc. 5 at 2), but he has not shown

 the procedures his church or the Celebration Church had in place to comply with these guidelines.

 He alleges the Celebration Church intended to hold a drive-in service, but he does not explain what

 it would have entailed, how long it would have lasted, or what would have prevented attendees



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 from exiting their vehicles, among other issues. Plaintiff argues Defendants’ ban “is backed by

 threats of potential civil or criminal penalties, including fines or arrests,” (Doc. 6 at 3), but he has

 not alleged facts regarding any specific threats. Plaintiff argues Defendants are targeting religious

 gatherings “while permitting similar social interaction[s] to continue unabated in retail and

 commercial establishments,” (Doc. 5 at 1), but he has not alleged sufficient facts from which the

 Court may draw sound comparisons. In short, Plaintiff’s current filings (Docs. 1, 5, 6) fail to

 provide the Court with sufficient facts from which the Court may conclude that Plaintiff is likely

 to succeed on the merits of his claim.1

         Plaintiff has also not alleged facts from which the Court could conclude that Plaintiff will

 suffer irreparable harm if injunctive relief is not granted. See Ne. Ohio Coal., 467 F.3d at 1009.

 Plaintiff’s current arguments regarding irreparable harm are primarily directed towards the harm

 of missing in-person or drive-in worship on Easter, (Doc. 1 at 5; Doc. 5 at 3), but his complaint

 and motion were not filed until April 15, 2020, three days after Easter. Finally, Plaintiff has not

 alleged sufficient facts from which the Court may assess the probability that granting relief will

 cause substantial harm to others or whether an injunction would advance the public interest, See

 Ne. Ohio Coal., 467 F.3d at 1009, as Plaintiff has not, among other matters, alleged facts regarding

 the procedures his church or the Celebration Church had in place to protect public health interests,



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            Plaintiff also relies on the recent temporary restraining order issued in a neighboring
 district, On Fire Christian Center, Inc. v. Fischer, __ F. Supp. 3d. __, 2020 WL 1820249 (W.D.
 Ky. Apr. 11, 2020), to show his likelihood of success on the merits. (Doc. 5 at 2–3.) Opinions
 from district courts are not binding precedent. Bridgeport Music, Inc. v. Dimension Films, 410
 F.3d 792, 802 n.16 (6th Cir. 2005); see also Liebisch v. Sec’y of Health & Human Servs., 21 F.3d
 428, 1994 WL 108957, at *2 (6th Cir. Mar. 30, 1994) (Table) (“District Court opinions have
 persuasive value only and are not binding as a matter of law.”). Without sufficient, specific facts
 as to the dispute before this Court, the Court cannot determine whether the same result is warranted
 here as was reached in On Fire. In addition, as discussed above, Plaintiff has not satisfied the
 procedural requirements that allow the issuance of the type of ex parte temporary restraining order
 the On Fire court issued.
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 as discussed further above. Thus, even if Plaintiff had satisfied the procedural requirements for

 the issuance of an ex parte temporary restraining order, the Court would be unable to analyze and

 balance the relevant factors to determine whether Plaintiff is entitled to a temporary restraining

 order.



 IV.      CONCLUSION

          The Court concludes that a hearing on this matter is not necessary based on the filings

 currently before the Court. For the reasons discussed above, the Court DENIES Plaintiff’s motion

 for a temporary restraining order (Doc. 5).


          SO ORDERED.

          ENTER:


                                                     /s/____________________________
                                                     CURTIS L. COLLIER
                                                     UNITED STATES DISTRICT JUDGE




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